     Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 1 of 34



               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK



DEMOCRATIC NATIONAL
COMMITTEE,

                           Plaintiff,                    Case No. 1:18-cv-3501-JGK-SDA

                  v.
                                                         Oral Argument Requested
THE RUSSIAN FEDERATION, et al.,

                           Defendants.




                   REPLY IN SUPPORT OF
     DEFENDANT DONALD J. TRUMP FOR PRESIDENT, INC.’S
     MOTION TO DISMISS COUNTS II, III, IV, VIII, XII, AND XIV
           OF THE SECOND AMENDED COMPLAINT


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              Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 2 of 34



                                                           TABLE OF CONTENTS
                                                                                                                                                            Page
Introduction .................................................................................................................................................... 1
Argument .......................................................................................................................................................... 1
I. Because the DNC Does Not Allege the Campaign’s Involvement in Stealing Materials,
   Its Efforts to Distinguish Away the Campaign’s First Amendment Protection All Fail.................. 1
II. The DNC Fails to State RICO Claims Against the Campaign. ........................................................... 6
      A. The Campaign’s alleged communications fall far short of plausibly suggesting that it
         directed the supposed Association-In-Fact Enterprise’s affairs. ................................................... 7
      B. The AIF Enterprise lacks every required structural feature. .......................................................... 8
            1. The DNC fails to allege a common and unlawful purpose shared among the AIF
               Enterprise’s disparate members. ................................................................................................. 8
            2. The DNC alleges isolated interactions, not the interpersonal relationships that
               RICO requires. ............................................................................................................................. 11
            3. The DNC does not allege the required longevity. .................................................................. 12
            4. The DNC confirms that the AIF Enterprise would have no existence apart from
               its alleged pattern of racketeering activity. ............................................................................... 12
      C. The DNC has not alleged that the Campaign committed any predicate acts, let alone
         a pattern of racketeering activity. ..................................................................................................... 14
            1. The DNC does not allege that the Campaign committed a single predicate act of
               conspiring to steal and disseminate DNC trade secrets. ....................................................... 14
            2. The DNC does not allege a threat of continuing criminal conduct..................................... 17
      D. The DNC has not alleged any cognizable injury that was proximately caused by the
         alleged AIF Enterprise....................................................................................................................... 18
      E. The DNC’s RICO-conspiracy claim fails, too. .............................................................................. 20
III. The DNC Fails to State a Wiretap Act Claim Against the Campaign............................................... 20
IV. The DNC’s State-Law Claims Against the Campaign All Fail. .......................................................... 22
      A. The Court should not exercise supplemental jurisdiction over the state-law claims. .............. 22
      B. The DNC fails to state a trade-secrets claim against the Campaign. .......................................... 23
      C. The DNC fails to state a claim against the Campaign for conspiracy to commit
         trespass to chattels.............................................................................................................................. 24
      D. The DNC fails to state a Virginia Computer Crimes Act claim against the Campaign. .......... 25
Conclusion ..................................................................................................................................................... 25




                                                                               -i-
             Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 3 of 34




                                                     TABLE OF AUTHORITIES

                                                                                                                                                    Page

CASES

4 K & D Corp. v. Concierge Auctions, LLC,
    2 F.Supp.3d 525 (S.D.N.Y. 2014) ........................................................................................................... 14

Anza v. Ideal Steel Supply Corp.,
   547 U.S. 451 (2006) ................................................................................................................................... 19

Apotex Inc. v. Acorda Therapeutics, Inc.,
   823 F.3d 51 (2d Cir. 2016) ......................................................................................................................... 3

Ashcroft v. Iqbal,
   556 U.S. 678 (2009) ................................................................................................................................... 24

Bartnicki v. Vopper,
    532 U.S. 514 (2001) ........................................................................................................................... passim

Bell Atl. Corp. v. Twombly,
     550 U.S. 544 (2007) ............................................................................................................................ 14, 21

Black Radio Network, Inc. v. NYNEX Corp.,
    44 F.Supp.2d 565 (S.D.N.Y. 1999) ......................................................................................................... 13

Boehner v. McDermott,
    484 F.3d 573 (D.C. Cir. 2007) ............................................................................................................... 1, 4

BondPro Corp. v. Siemens Power Generation,
   463 F.3d 702 (7th Cir. 2006).................................................................................................................... 24

Boyle v. United States,
    556 U.S. 938 (2009) .......................................................................................................................... 8, 9, 10

CAIR Action Network, Inc. v. Gaubatz,
  82 F.Supp.3d 344 (D.D.C. 2015) ............................................................................................................ 24

Cherrie v. Va. Health Servs., Inc.,
    787 S.E.2d 855 (Va. 2016) ....................................................................................................................... 25




                                                                           - ii -
             Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 4 of 34



                                                   TABLE OF AUTHORITIES
                                                          (continued)
                                                                                                                                           Page(s)
Choice is Yours, Inc. v. Williams,
   2016 WL 5661709 (E.D. Pa. Sept. 30, 2016) ........................................................................................ 19

City of New York v. Smokes-Spirits.com, Inc.,
    541 F.3d 425 (2d Cir. 2008), rev’d on other grounds sub nom. Hemi Grp., LLC v. City of
    New York, 559 U.S. 1 (2010) ............................................................................................................. 2, 7, 8

Cockrum v. Donald J. Trump for President, Inc.,
   365 F.Supp.3d 652 (E.D. Va. 2019) ......................................................................................................... 5

Cofacredit, S.A. v. Windsor Plumbing Supply Co.,
    187 F.3d 229 (2d Cir. 1999) ..................................................................................................................... 18

D’Addario v. D’Addario,
   901 F.3d 80 (2d Cir. 2018), cert. denied, 139 S. Ct. 1331 (2019) .......................................................9, 10

First Cap. Asset Mgmt., Inc. v. Satinwood, Inc.,
    385 F.3d 159 (2d Cir. 2004) ............................................................................................................. passim

Gelber v. Glock,
    800 S.E.2d 800 (Va. 2017) ....................................................................................................................... 24

In re Zyprexa Injunction,
     474 F.Supp.2d 385 (E.D.N.Y. 2007) ........................................................................................................ 5

Int’l Bhd. of Teamsters v. Carey,
     297 F.Supp.2d 706 (S.D.N.Y. 2004), aff’d sub nom. Int’l Bhd. of Teamsters v. Blitz,
     124 F. App’x 41 (2d Cir. 2005)......................................................................................................... 17, 18

Marsh v. Curran,
   362 F.Supp.3d 320 (E.D. Va. 2019) ....................................................................................................... 25

Mattel, Inc. v. MGA Entm’t, Inc.,
   782 F.Supp.2d 911 (C.D. Cal. 2011)....................................................................................................... 19

Moss v. BMO Harris Bank, N.A.,
   258 F.Supp.3d 289 (E.D.N.Y. 2017) ........................................................................................... 8, 11, 12

N.Y. Times Co. v. United States,
   403 U.S. 713 (1971) (per curiam) .............................................................................................................. 4




                                                                        - iii -
             Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 5 of 34



                                                      TABLE OF AUTHORITIES
                                                             (continued)
                                                                                                                                                  Page(s)
Nat’l Grp. for Commc’ns & Computers Ltd. v. Lucent Techs. Inc.,
   420 F.Supp.2d 253 (S.D.N.Y. 2006) ....................................................................................................... 20

Peavy v. WFAA-TV, Inc.,
    221 F.3d 158 (5th Cir. 2000)...................................................................................................................... 5

Reves v. Ernst & Young,
    507 U.S. 170 (1993) ................................................................................................................................. 7, 8

Ruby Dev. Corp. v. Charrim Dev. Corp.,
   742 F.Supp. 1213 (E.D.N.Y. 1990) ........................................................................................................ 18

Schmidt v. Fleet Bank,
   16 F.Supp.2d 340 (S.D.N.Y. 1998) ......................................................................................................... 13

Spool v. World Child Int’l Adoption Agency,
    520 F.3d 178 (2d Cir. 2008) ..................................................................................................................... 17

United States v. Agrawal,
    726 F.3d 235 (2d Cir. 2013) ..................................................................................................................... 16

United States v. Lee,
    2010 WL 8696087 (N.D. Cal. May 21, 2010) ........................................................................................ 16

United States v. Lloyds TSB Bank PLC,
    639 F.Supp.2d 326 (S.D.N.Y. 2009) ....................................................................................................... 15

United States v. Turkette,
    452 U.S. 576 (1981) ............................................................................................................................ 12, 13

Westchester Cty. Indep. Party v. Astorino,
   137 F.Supp.3d 586 (S.D.N.Y. 2015) ................................................................................................ 18, 19

STATUTES

18 U.S.C. § 1831 ........................................................................................................................................ 14, 16

18 U.S.C. § 1832 ........................................................................................................................................ 14, 16

18 U.S.C. § 1962 ................................................................................................................................ 6, 8, 13, 20

18 U.S.C. § 2511 ........................................................................................................................................ 21, 22


                                                                            - iv -
             Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 6 of 34



                                                      TABLE OF AUTHORITIES
                                                             (continued)
                                                                                                                                                Page(s)
28 U.S.C. § 1367 .................................................................................................................................. 22, 23, 25

D.C. Code § 36-401(4)(A)............................................................................................................................... 24

OTHER AUTHORITIES

Ryan Goodman, How Roger Stone Interacted With Russia’s Guccifer and Wikileaks,
   Newsweek (Sep. 28, 2017) ....................................................................................................................... 15

Special Counsel Robert Mueller, III’s Report On The Investigation Into Russian Interference
   In The 2016 Presidential Election (“Mueller Report,” available at
   http://bit.ly/2L2cGqL) .................................................................................................................. 1, 3, 16




                                                                           -v -
         Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 7 of 34



                                         INTRODUCTION
     The DNC lacks a persuasive response to the Campaign’s Motion to Dismiss. Most importantly,

the DNC fails to overcome the Campaign’s First Amendment defense, which entirely precludes the

DNC’s claims. And even setting the First Amendment aside, those claims all fail on the merits.

     In fact, it is now clear that there is no scenario in which the DNC could plausibly allege claims

against the Campaign. On April 18, 2019, Special Counsel Robert Mueller, III’s Report On The Investi-

gation Into Russian Interference In The 2016 Presidential Election (“Mueller Report,” available at

http://bit.ly/2L2cGqL) was released. The Report explains, in exhaustive detail, that the Special

Counsel’s two-year investigation—which went far beyond the limits of civil discovery—“did not es-

tablish that members of the Trump Campaign conspired or coordinated with the Russian govern-

ment in its election interference activities.” Mueller Report, Vol. I at 1–2. Indeed, the Special Coun-

sel directly refuted many of the key allegations and inferences underlying the DNC’s claims. The Spe-

cial Counsel’s findings only further confirm that it is time for this politically motivated lawsuit to end.

                                            ARGUMENT
I.   Because the DNC Does Not Allege the Campaign’s Involvement in Stealing Materials,
     Its Efforts to Distinguish Away the Campaign’s First Amendment Protection All Fail.

     The DNC does not get around to trying to square its position with the First Amendment until

page 99 of its Opposition. Even then, all of its arguments are predicated on a reimagining of its

own allegations and a misunderstanding of core First Amendment principles.

     1. The DNC does not dispute the governing standard: There can be no liability for disclosing

stolen information if (1) the disclosing party “did not participate” in the theft, and (2) the disclosure

“concern[s] public issues.” Bartnicki v. Vopper, 532 U.S. 514, 517–18 (2001); see also Boehner v. McDermott,

484 F.3d 573, 586 (D.C. Cir. 2007) (op. of Sentelle, J, for majority of en banc court). In fact, the DNC

accepts this test, agreeing that there can be no liability for someone who “stumble[s] upon stolen

information about a matter of public concern.” Opp. 101 (ECF 241). And it raises no challenge on



                                                   -1-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 8 of 34



the second prong, rightly conceding that the published materials—which revealed important infor-

mation about how the Democratic Party operates—were of public concern. So the only question is

whether the DNC has plausibly alleged that the Campaign “participated” in stealing the materials.

   2. It has not. The DNC accepts that the Campaign “did not personally commit certain offenses

(such as hacking into the DNC’s servers).” Opp. 3. And although it deploys an array of conclusory

labels in an effort to portray the Campaign and other Defendants as “information thieves” who

“participated in a criminal conspiracy to steal the DNC’s information” (id. at 3–4), at no point does

it claim the Campaign even knew of—let alone conspired in—Russia’s hacking operation. Because

the DNC spends much of its Opposition blurring its own allegations, a brief recap is in order:

   •   The DNC alleges that Russia commenced its cyberattack in July 2015. SAC ¶¶ 84, 115. But it
       admits that “Defendants are not liable for the information theft that occurred in 2015, be-
       fore there was any conspiracy at all.” Opp. 101 n.29.
   •   The DNC claims a conspiracy formed in March 2016 (id.), when Defendant George Papa-
       dopoulos first encountered Defendant Joseph Mifsud. SAC ¶ 94; Opp. 5. But it does not
       claim Mifsud said anything about “‘thousands of emails’ that could harm Hillary Clinton’s
       presidential campaign” until April 26—after Russia allegedly “launched a pervasive cyberat-
       tack” on April 18, and after Russia “exfiltrate[d]” DNC data on April 22. SAC ¶¶ 94, 101, 104,
       121; Opp. 5–6. And even then, the DNC does not allege that Mifsud said anything about the
       emails having been stolen by Russia from the DNC, does not allege that Papadopoulos told
       anyone else with the Campaign about the “thousands of emails,” and does not allege that the
       Campaign even discussed stealing more documents—much less joined a conspiracy to do so.
   •   Next, the DNC alleges that “Kremlin-connected oligarchs” contacted Defendant Donald
       Trump, Jr. on June 3 about “official documents and information that would incriminate Hil-
       lary and her dealings with Russia,” and that representatives of the Campaign met with vari-
       ous individuals allegedly connected to the Russian government on June 9. SAC ¶¶ 133, 137;
       Opp. 6–7. Again, however, the DNC does not allege that the Campaign was as at any point
       told of documents that had been stolen (from the DNC or anyone else). Nor does it allege
       any facts plausibly suggesting that the meeting was about such documents stolen from the
       DNC, let alone that the Campaign at that meeting joined a conspiracy to steal new documents.
   •   The DNC does not allege that Russia stole additional documents after the June 9 meeting. It
       claims that Russia exfiltrated “snapshots of [] virtual servers” containing analytic “data and
       proprietary computer code” in September 2016 (SAC ¶¶ 23, 180), but does not allege that
       the Campaign knew of or had any connection to that sophisticated hacking activity.

    To summarize: The DNC does not claim the Campaign even knew Russia was hacking the

DNC’s servers and stealing documents at any point during that hacking campaign, much less that the



                                                -2-
           Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 9 of 34



Campaign “participate[d] in the interception,” as would be required for the DNC’s claims against the

Campaign to avoid the First Amendment. Bartnicki, 532 U.S. at 517.

       Nor could the DNC plausibly allege the Campaign’s involvement in a conspiracy to steal infor-

mation. The Special Counsel exhaustively investigated the conduct at the center of the DNC’s con-

spiracy theory—Papadopoulos’s interactions with Mifsud, and the June 9 meeting—and determined

that none of it involved the Campaign in Russia’s election-interference efforts.1 There is no evidence

that Papadopoulos even mentioned Mifsud’s “thousands of emails” to anyone else at the Campaign,

and the 20-minute Trump Tower meeting had nothing to do with DNC materials. Mueller Report,

Vol. I at 93–94, 117–20. Indeed, after reviewing every conceivable interaction between the Campaign

and Russia-connected individuals, the Special Counsel did not and could not allege that the Cam-

paign “conspired or coordinated with the Russian government in its election interference activities.”

Id. at 1–2. The DNC is thus incapable of alleging the Campaign’s involvement in Russia’s hacking.

       Bartnicki’s first prong is thus satisfied, foreclosing all claims against the Campaign. Although the

DNC essentially requests a First Amendment exemption (Opp. 105–06), such a ruling would have

significant ramifications for the press—who regularly “present[] stolen information to the public” (id.

at 106)—for the public, and, more broadly, for exposure of wrongdoing by public figures.

      3. The DNC tries evading this by limiting Bartnicki to its facts. None of these supposedly “cru-

cial factual differences” (id. at 101) have any bearing on Bartnicki’s straightforward legal standard.



1
    Because the Special Counsel’s Report is “publicly available and its accuracy cannot reasonably be

questioned,” the Court can take judicial notice of it. Apotex Inc. v. Acorda Therapeutics, Inc., 823 F.3d 51,

60 (2d Cir. 2016). Moreover, because the SAC repeatedly references the Special Counsel’s investiga-

tion (SAC ¶¶ 30, 211–12, 221, 231, 237), the Report representing the culmination of that investiga-

tion is also “integral” to the SAC. Apotex, 823 F.3d at 61 n.6 (citation omitted).



                                                    -3-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 10 of 34



    First, the DNC claims that Bartnicki and similar cases are distinguishable because the defendant

who disclosed the contents of an illegal wiretap played “no part” in the wiretap itself. Opp. 101. But

that hardly distinguishes this case, as the DNC’s theory is that the Campaign is liable for (somehow)

supporting disclosure of the emails hacked by Russia despite playing “no part” in the hacking. As

just explained, the DNC does not and cannot allege that the Campaign even knew Russia was steal-

ing DNC materials, much less that it “aid[ed], abet[ted], or conspire[d]” in that effort. Id. The DNC

seems to be arguing that Bartnicki permits punishments of disclosers if they know the disclosed in-

formation was illegally obtained. But this assertion is at war with Bartnicki and every other relevant

case. In Bartnicki, the defendants “did know—or at least had reason to know—that the interception

was unlawful.” 532 U.S. at 517–18. In the Pentagon Papers case, it was an “undisputed fact” that the

information was “obtained from stolen documents.” Id. at 528 (discussing N.Y. Times Co. v. United

States, 403 U.S. 713 (1971) (per curiam)); see also Boehner, 484 F.3d at 585 (Sentelle, J.) (“[T]he other-

wise-lawful receipt of unlawfully obtained information remains in itself lawful, even where the re-

ceiver knows or has reason to know that the source has obtained the information unlawfully.”).

    The DNC nevertheless insists the Campaign is “legally responsible” for Russia’s hack because it

supposedly agreed with Russia to disclose hacked materials. Opp. 101-102. Again, this turns Bartnicki

on its head. Bartnicki’s entire point is that the First Amendment bars any law that would render a dis-

closer “legally responsible” for a theft he was not involved in, regardless of his knowledge of the

theft or participation in the disclosure. Rather, since the only constitutionally viable restrictions pun-

ish “the interceptor,” no penalties may be imposed on those—like the Campaign—“not involved in

the initial illegality.” Bartnicki, 532 U.S. at 529. It is almost inevitable that the discloser “agrees” with

the thief to disclose the stolen information, but this did not render the New York Times liable for

“conspiring” with Ellsberg (N.Y. Times, 403 U.S. at 714) or Rep. McDermott liable for “conspiring”

with those who intercepted Rep. Boehner’s phone call (Boehner, 484 F.3d at 586).



                                                    -4-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 11 of 34



    Finally, liability would be particularly unconstitutional here because, unlike in Bartnicki and other

cases, the Campaign did not disclose the hacked materials and instead only allegedly “praised” and

“encouraged” the disclosures. SAC ¶ 4. Indeed, the DNC sues only WikiLeaks and Assange—but not

the Campaign—for allegedly disclosing the stolen materials. Id. ¶ 311. Liability here would thus be

even more attenuated than in Bartnicki, reaching not only the discloser but those purportedly associ-

ated with it. No reading of Bartnicki tolerates punishing someone who neither hacked nor disclosed.

    The DNC provides nothing to undermine this black-letter law. Its cases all involve defendants

who, unlike here, actively participated in the theft, such as journalists who taught sources to surrepti-

tiously record conversations (Peavy v. WFAA-TV, Inc., 221 F.3d 158, 164 (5th Cir. 2000)), or advised

a source on how to “find[] a case which could be used as a pretense for subpoenaing … protected

documents” (In re Zyprexa Injunction, 474 F.Supp.2d 385, 400 (E.D.N.Y. 2007)). These decisions only

underscore the absence of such allegations against the Campaign. While a district court did reject the

Campaign’s First Amendment defense in a similar case, that was dicta because the court dismissed

the case on other grounds. Cockrum v. Donald J. Trump for President, Inc., 365 F.Supp.3d 652 (E.D. Va.

2019) (cited at Opp. 102). In any event, the court was obviously wrong. The court thought it suffi-

cient that the Campaign was allegedly “aware that the stolen information had been unlawfully ob-

tained” (id. at 658)—but as detailed above, that plainly does not distinguish Bartnicki.

    Second, the DNC asserts that the Campaign “cooperat[ed] with a hostile foreign power to un-

dermine Americans’ right to self-governance.” Opp. 103. But this McCarthyite demagoguery is of

no legal significance. Since the Campaign was not involved in the theft, it does not lose its First

Amendment protection simply because the party that did steal documents was a foreign nation. Nor

can the DNC get around this by invoking “self-governance” or “fair democratic processes.” Opp.

103. Again, Bartnicki makes clear that the means of protecting such interests is by punishing “the

interceptor”—not someone who was “not involved in the initial illegality.” 532 U.S. at 529.



                                                  -5-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 12 of 34



   Third, the DNC argues that, “unlike the plaintiffs in Bartnicki,” it had a legitimate expectation of

privacy. Opp. 104. But, outside of the DNC’s Orwellian world, it is obvious that all Americans have

a legitimate expectation that their private phone calls will not be intercepted by outsiders, as oc-

curred in Bartnicki. Bartnicki recognized this obvious truism by holding that “[p]rivacy of communi-

cation is an important interest.” 532 U.S. at 532. Nonetheless, prohibiting disclosure of these private

calls was unconstitutional because “privacy concerns give way when balanced against the interest in

publishing matters of public importance.” Id. at 534. Again, the DNC does not dispute that the dis-

closed materials—which it claims were significant enough to affect a nationwide election—were of

public concern. If the privacy interests of two individuals discussing the “mundane” topic of union

negotiations with a high school are insufficient to overcome the First Amendment (id. at 535), surely

the privacy interests of one of the country’s major political parties cannot overcome that protection.

   Fourth, the DNC argues that “Defendants disclosed the DNC’s documents to further the agenda

of a racketeering enterprise.” Opp. 104. But it never claims the Campaign disclosed any materials,

and instead claims only that the Campaign “praised” publications after the fact and “encouraged”

more. SAC ¶¶ 4, 25, 158, 196–202. In any event, although the DNC seems to believe the First

Amendment does not apply to RICO or to many of its other claims (Opp. 100 & n.28), that is false.

Where a party is uninvolved in stealing materials, it cannot be liable for disclosing those materials—

full stop. This is only clearer where, as here, the Campaign was also uninvolved in the dissemination.

   Finally, the DNC argues that Bartnicki does not apply to the publication of trade secrets. Opp.

104–05. But the DNC has failed to establish that the materials actually contained trade secrets. Infra

§ IV.B. And even if it had, the DNC does not claim that the Campaign had any knowledge of the

stolen documents’ contents, let alone knew that they contained trade secrets. Id.

II. The DNC Fails to State RICO Claims Against the Campaign.

   The DNC’s substantive and conspiracy claims under RICO (18 U.S.C. § 1962(c) and (d)) fail.



                                                 -6-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 13 of 34



    A. The Campaign’s alleged communications fall far short of plausibly suggesting that it
       directed the supposed Association-In-Fact Enterprise’s affairs.

    The DNC recognizes it must allege not only a valid RICO enterprise, but that the Campaign

“participated in the operation or management of ” that enterprise. Reves v. Ernst & Young, 507 U.S.

170, 183 (1993); Opp. 16–17. The DNC’s enterprise theory fails many times over (infra § II.B), but

even if it were valid, the DNC fails to allege that the Campaign had any role in operating or manag-

ing any enterprise. As the Campaign has explained, to satisfy this requirement, the DNC needs to

have plausibly alleged that the Campaign had “some part in directing [the Association-in-Fact En-

terprise’s] affairs,” and “not just [its] own affairs.” Reves, 507 U.S. at 179, 185. The DNC’s response

only confirms how far short its allegations fall.

    The DNC offers all of one sentence as to how the Campaign “played a leadership role in the

AIF Enterprise,” staking its argument on the notion that the Campaign “communicated with Rus-

sian agents … to obtain information about stolen DNC documents and determine how to use those

documents to Trump’s advantage during the 2016 election.” Opp. 21. In other words, the Campaign

allegedly learned about materials stolen by others, and then internally assessed how it could “use”

those materials—all disseminated by others—for its own purposes. All of this contrasts starkly with

the DNC’s allegations as to Russia (who “use[d] its military infrastructure to conduct hacking activi-

ty,” and was “responsib[le] for stealing and disseminating the DNC’s trade secrets”) and WikiLeaks

(who “disseminate[d] the hacked materials and provide[d] advice about the best materials to steal

and the optimal timing for the thefts”). Id. at 29, 39.

    The DNC’s argument is doubly invalid. First, merely communicating with others about materials

those others stole is the opposite of “directing” an enterprise’s affairs (Reves, 507 U.S. at 179) and “ex-

ert[ing] … control over the enterprise” (City of New York v. Smokes-Spirits.com, Inc., 541 F.3d 425, 449

(2d Cir. 2008), rev’d on other grounds sub nom. Hemi Grp., LLC v. City of New York, 559 U.S. 1 (2010)).

Indeed, the DNC does not allege that the Campaign exercised any control over any aspect of the


                                                    -7-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 14 of 34



alleged AIF Enterprise’s efforts to steal and disseminate materials. The Campaign’s alleged role in

“communicat[ing]” falls short of even “performing tasks” or “provid[ing] services which are helpful

to an enterprise”—either of which would still be insufficient to establish that the Campaign partici-

pated in operating or managing the AIF Enterprise. Moss v. BMO Harris Bank, N.A., 258 F.Supp.3d

289, 306 (E.D.N.Y. 2017); City of New York, 541 F.3d at 449. Second, any internal assessment of how

the Campaign could “use” the stolen and published materials “to Trump’s advantage” is the epitome

of a defendant conducting “[its] own affairs,” not “the ‘enterprise’s affairs.’” Reves, 507 U.S. at 185.

    The DNC’s threadbare position comes nowhere near what is required to allege the Campaign’s

role in operating or managing the AIF Enterprise’s affairs. This alone defeats its § 1962(c) claim.

    B. The AIF Enterprise lacks every required structural feature.

    Even if the DNC could satisfy the “operation or management” requirement, its theorized AIF

Enterprise—the sole basis for its § 1962(c) claim against the Campaign (Opp. 22 n.8)—lacks every

“structural feature[]” that RICO requires. Boyle v. United States, 556 U.S. 938, 946 (2009).

      1. The DNC fails to allege a common and unlawful purpose shared among the AIF
         Enterprise’s disparate members.

    As the Campaign has explained, the DNC must plausibly allege that the members of the AIF

Enterprise formed “a continuing unit that functions with a common purpose.” Id. at 948. And

because the entire point of RICO is to target criminal enterprises, this common purpose must have

been to accomplish something unlawful. First Cap. Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159,

174 (2d Cir. 2004). The DNC confirms it cannot satisfy either requirement.

    a. The DNC agrees that its AIF Enterprise cobbles together individuals and entities that held

“different motivations” and “different reasons” for their alleged actions. Opp. 23 (emphases added).

This is the opposite of a “common purpose.” Boyle, 556 U.S. at 948.

    The DNC insists these different purposes are “of no moment” because each supposed

enterprise member held the same ultimate objective of getting President Trump elected. Opp. 23.


                                                    -8-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 15 of 34



But as the Campaign has explained, the DNC’s own allegations—as well as judicially noticeable

materials that the SAC relies upon—confirm this was not a shared objective across the alleged AIF

Enterprise. Russia’s purpose was to sow discord and improve its own geopolitical standing—

objectives it could achieve regardless of who won the 2016 election. SAC ¶¶ 71–72. (Indeed, Russia

was pursuing these objectives well before President Trump was viewed as a front-runner for the

Republican nomination. Campaign’s Br. 16–17.) WikiLeaks’ purpose was to harm Secretary Clinton

as payback for various personal vendettas of its founder, Julian Assange. SAC ¶¶ 78–79. The various

Russia-connected individuals were seeking to curry favor with Russia for their own reasons. Id. at

¶¶ 77, 80. Only the Campaign had the objective of securing President Trump’s election. Id. at ¶ 80.

    The DNC claims this is an instance of individuals “join[ing] an enterprise for different reasons,

but still work[ing] toward the enterprise’s common objectives.” Opp. 23. But that just begs the

question. The entire point of RICO’s structural requirements is to sweep up only groups that

“function as a continuing unit.” Boyle, 556 U.S. at 944–45 (quoting United States v. Turkette, 452 U.S.

576, 583 (1981)). The AIF Enterprise, however, cobbles together a far-flung group of individuals that

engaged in their own endeavors, for their own ends. This is not enough. See, e.g., D’Addario v. D’Addario,

901 F.3d 80, 101–02 (2d Cir. 2018), cert. denied, 139 S. Ct. 1331 (2019) (“Nor does the allegation that

the various Defendants and subgroups agreed at different times to engage in various fraudulent

schemes plausibly support the inference … that they acted with a sufficiently common purpose.”).

    The problem is most acute as to the Campaign and its employees. The Campaign’s objective of

securing then-candidate Trump’s election is quite different from Russia’s objective of advancing its

own global standing (Opp. 24), or WikiLeaks’ objective of “harming Secretary Clinton[]” as

retribution for past “conflicts” (SAC ¶ 78). The fact that those other Defendants may have

“preferred” President Trump’s election as a means to their hoped-for ends (Opp. 24, 25) does

nothing to suggest the Campaign and those other Defendants functioned as “a continuing unit.”



                                                  -9-
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 16 of 34



Boyle, 556 U.S. at 948. Adopting the DNC’s position would mean that this requirement for RICO

liability could be satisfied any time a presidential candidate’s election is the preferred outcome of

some foreign power—a blueprint for transforming political contests into vexatious RICO litigation.

   b. The first defect in the DNC’s common-purpose theory leads to a second. The DNC

recognizes that its only hope of satisfying the common-purpose requirement is by abstracting the

supposed enterprise members’ purposes to the highest possible level of generality, blurring their

distinct objectives into an alleged common denominator of seeking Trump’s election. But even if

those different purposes can be set aside, an association-in-fact enterprise exists only where the

members “share a common purpose to engage in a particular fraudulent course of conduct.” First

Cap., 385 F.3d at 174 (emphasis added); see also Campaign’s Br. 19 (collecting cases). And there

obviously is nothing fraudulent or otherwise unlawful about securing a candidate’s election.

   The DNC, in fact, does not claim to have articulated an unlawful purpose. Instead, it insists this

requirement is “outdated.” Opp. 26. That is incorrect. The Second Circuit in First Capital was

addressing the Supreme Court’s common-purpose requirement first articulated in 1981. 385 F.3d at

173 (quoting Turkette, 452 U.S. at 583). The Supreme Court’s subsequent decision in Boyle merely

reiterated that requirement, without casting any doubt on the Second Circuit’s conclusion that the

purpose must be unlawful. 556 U.S. at 946. And far from overruling the requirement of an unlawful

purpose in D’Addario, the Second Circuit there found that the plaintiffs had alleged a valid enterprise

comprising two individuals who “systematically looted the assets of the [probate] Estate” for which

they were the sole executors. 901 F.3d at 85. Though the court emphasized that probate estates have

a purpose “prescribed by law” (id. at 103), it was the enterprise members’ unlawful objective that gave

rise to the enterprise. Indeed, the court specifically explained that its analysis flowed from First

Capital and was driven by the fact that probate estates are vulnerable to “infiltration or exploitation

by criminal elements”—the exact sort of unlawful purpose that First Capital requires. Id. at 103 n.12.



                                                - 10 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 17 of 34



    The DNC’s only other argument is that its allegations suffice because it claims the AIF

Enterprise “us[ed] illegal means.” Opp. 26 (quoting SAC ¶ 272). But the Campaign already debunked

this non sequitur: an enterprise’s purpose is distinct from the means through which it pursues that

purpose. Campaign’s Br. 20. Particularly given that an enterprise must exist independently of its

racketeering activity (infra § II.B.4), allegations as to the AIF Enterprise’s supposed tactics cannot

establish that the enterprise existed in the first place. The DNC has no response to these points.

      2. The DNC alleges isolated interactions, not the interpersonal relationships that
         RICO requires.

    The Campaign has shown that the DNC also fails to allege the “interpersonal relationship[s]”

needed to show that the supposed enterprise members “worked together for a common illicit inter-

est,” as opposed to furthering “their own independent interests.” Moss, 258 F.Supp.3d at 301 (cita-

tion omitted). The DNC has no good response. Despite having alleged an “ongoing organizational

framework” (SAC ¶ 273), it now falls back to suggesting only a “loose structure” (Opp. 29)—and

even that is overstated. As far as the Campaign is concerned, the DNC’s claimed relationships center

on Papadopoulos’s interactions with Mifsud, the June 9 meeting, and various “Trump Associates

secretly communicat[ing] with Russian agents and WikiLeaks.” Id. at 27–28. This does not suffice.

    First, as already explained, the DNC does not (and cannot) allege that Papadopoulos’s interac-

tions with Mifsud or the June 9 meeting had anything to do with materials stolen from the DNC—

the alleged AIF Enterprise’s raison d’être. Supra at 2–3.

    Second, the DNC’s only other allegations as to the Campaign involve supposed interactions that

occurred after every document theft. Opp. 27–28; SAC ¶¶ 159–76. Such conduct cannot support lia-

bility, given that the Campaign had no involvement in the thefts themselves. Supra at § I. Anyway,

these allegations paint a very different picture from the “extensive relationships” the DNC claims.

Opp. 27. It alleges that Defendant Roger Stone exchanged a few Twitter messages with a “GRU op-

erative[]” (SAC ¶ 167)—but the DNC recognizes that Stone was not an employee or agent of the


                                                   - 11 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 18 of 34



Campaign (id. at ¶ 58), and was unable to even directly communicate with WikiLeaks (id. at ¶¶ 162,

171). Beyond this, the DNC alleges only that WikiLeaks exchanged Twitter messages with Trump, Jr.;

and that Defendants Paul Manafort and Richard Gates communicated with a Russia-connected indi-

vidual. SAC ¶¶ 168–69, 173. But WikiLeaks’ request that Trump, Jr. publicly link to its database of

published DNC materials only confirms that the Campaign had nothing to do with publishing those

materials, and the DNC does not even claim that Manafort’s or Gates’s communications were con-

nected to DNC materials. These isolated interactions hardly demonstrate that the relevant individu-

als “worked together for a common illicit interest.” Moss, 258 F.Supp.3d at 301 (citation omitted).

   Finally, the DNC references its allegations of post-election conduct by certain individuals. Opp.

28. But it makes no such allegations as to the Campaign. In any event, alleged connections after all of

the thefts and publications cannot establish an enterprise dedicated to those efforts.

      3. The DNC does not allege the required longevity.

   As the Campaign has explained, the AIF Enterprise also lacks the third required structural fea-

ture—longevity—because the DNC does not claim the enterprise even came into existence until

after Russia launched the hacking operation on which the DNC’s claim is predicated. Indeed, the

DNC alleges that the Enterprise may not have formed until June 2016 (SAC ¶ 272), by which time

Russia had carried out every document theft at issue here. The DNC’s only response is that the AIF

Enterprise existed long enough “to permit the[] associates to pursue the enterprise’s purpose.” Opp.

31 (citation omitted). But in a case predicated upon a supposed “conspiracy to steal the DNC’s data

and use it to support Trump’s candidacy” (id. at 3), it makes no sense to say that an enterprise im-

plementing that effort could have formed after all of the relevant data had been stolen.

      4. The DNC confirms that the AIF Enterprise would have no existence apart from its
         alleged pattern of racketeering activity.

   The Campaign has also shown that the DNC does not allege “an entity separate and apart from

the pattern of [racketeering] activity in which it engages.” Turkette, 452 U.S. at 583. The DNC con-


                                                 - 12 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 19 of 34



firms this failure. Over and over again, it relies solely on alleged predicate acts by the AIF Enterprise

to prove the Enterprise existed in the first place. How do we know the enterprise members shared a

common purpose? Because Russia went “to extraordinary lengths to help elect Trump,” WikiLeaks

“coordinat[ed]” releases, “the Agalarovs … arrange[d] the Trump Tower meeting,” Mifsud “me[t]

with Papadopoulos,” and so on. Opp. 24–25. How do we know the members had relationships? Be-

cause they established “general roles” for committing predicate acts: Russia “conduct[ed] hacking

activity,” WikiLeaks “disseminate[d] the hacked materials,” and the Trump Associates and Agalarovs

“coordinat[ed]” and “amplif[ied]” those publications. Id. at 29. How do we know the AIF Enterprise

had longevity? By looking to the “predicates” that “Defendants committed.” Id. at 31. This question-

begging argument violates the rule that “[t]he existence of an enterprise at all times remains a sepa-

rate element which must be proved.” Turkette, 452 U.S. at 583; see also, e.g., Black Radio Network, Inc. v.

NYNEX Corp., 44 F.Supp.2d 565, 581 (S.D.N.Y. 1999) (dismissing § 1962(c) claim where alleged en-

terprise members were “a part of that enterprise only by virtue of the alleged racketeering activity”).

    The DNC’s only response is that it has alleged a handful of non-predicate acts by a few Defend-

ants. Opp. 32. These stray allegations do not alter the analysis. The question is “whether ‘the enter-

prise would still exist were the predicate acts removed from the equation.’” Schmidt v. Fleet Bank, 16

F.Supp.2d 340, 349 (S.D.N.Y. 1998) (citation omitted). Here, removing the predicate acts would result

in a supposed enterprise that did not steal or disseminate a single document. Instead, the most the

DNC would have is allegations that WikiLeaks and Trump, Jr. accessed a website without permis-

sion, Manafort shared polling data with a Russian-connected individual, Russia and WikiLeaks post-

ed on social media about the Special Counsel, and the Campaign denied contacts with Russia. Opp.

32. The DNC does not even claim these disconnected allegations could sustain its enterprise theory.

And they could not. Because the AIF Enterprise “would not exist” without the alleged predicate acts,

the DNC’s enterprise theory fails. Schmidt, 16 F.Supp.2d at 350.



                                                  - 13 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 20 of 34



    C. The DNC has not alleged that the Campaign committed any predicate acts, let alone
       a pattern of racketeering activity.
    The Campaign has shown that the DNC fails to plausibly allege that it committed any predicate

acts and fails to allege any threat of continued criminal activity. The DNC’s responses all fail.

      1. The DNC does not allege that the Campaign committed a single predicate act of
         conspiring to steal and disseminate DNC trade secrets.
    As the Campaign has explained, the DNC does not plausibly allege that the Campaign

committed any predicate acts, let alone a pattern of racketeering activity. The DNC’s claims against

the Campaign are predicated solely on the conspiracy provisions of 18 U.S.C. §§ 1831 and 1832,

which address the misappropriation of trade secrets. The DNC thus must plausibly allege a

conspiracy to steal and disseminate not just any materials, but trade secrets in particular. Though the

DNC insists it has done so, its position suffers from several fatal defects.

    a. The DNC’s allegations fail at the outset, because it does not—and, it is now clear, cannot—

plausibly allege the Campaign’s involvement in a conspiracy to steal and disseminate DNC trade

secrets (or any other DNC materials, for that matter).

    First, the DNC stakes its theory on Papadopoulos’s interactions with Mifsud and on the Trump

Tower meeting. Opp. 35–37. But as already explained, the DNC does not actually allege that, in

either instance, the Campaign was even told about “documents … stolen from the DNC”—let alone

that the Campaign “forged an agreement to steal the DNC’s intellectual property, including trade

secrets.” Id. at 35–36, 37; supra at 2–3. In claiming that these allegations nonetheless “suggest” or

support an “infer[ence]” of a conspiracy to steal trade secrets, the DNC relies on precisely the sort

of “conclusory allegation[s] of agreement” that the Supreme Court has made clear “do[] not supply

facts adequate to show illegality.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556–57 (2007) (emphasis

added); see also, e.g., 4 K & D Corp. v. Concierge Auctions, LLC, 2 F.Supp.3d 525, 545 (S.D.N.Y. 2014)

(Koeltl, J.) (finding conspiracy allegations insufficient where “the plaintiffs have alleged no facts to

show specifically that the defendants had any ‘meeting of the minds’ in the alleged violations”).


                                                 - 14 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 21 of 34



   The DNC then claims its “inferences” are “bolstered” by various stray allegations. Opp. 38.

None of those allegations plausibly suggest a conspiracy to steal and disseminate DNC trade secrets:

   •   The DNC references then-candidate Trump’s statement, at a campaign rally, that he
       “hope[d]” Russia would find emails from Secretary Clinton’s private server. Id. This very
       public statement regarding the very public issue of Secretary Clinton’s private server has no con-
       nection to a supposed clandestine agreement—“shrouded in secrecy” (id. at 35)—to steal
       DNC materials.
   •   The DNC alleges that Paul Manafort shared polling data with a “known Russian spy.” Id. at
       38. But it does not allege facts plausibly suggesting this had anything to do with Russia’s
       hacking efforts, and makes clear that any such connection is grounded in pure speculation. Id.
   •   The DNC asserts that Russia’s intelligence service “asked Stone for his reaction to a ‘turnout
       model’” it had stolen from someone other than the DNC, and publicly tweeted to thank
       Stone for “believ[ing] in the real #Guccifer2.” Opp. 38–39; Ryan Goodman, How Roger Stone
       Interacted With Russia’s Guccifer and Wikileaks, Newsweek (Sep. 28, 2017),
       http://bit.ly/30b5v3o (cited at SAC ¶ 165). But (again) Stone was not a Campaign employee
       or agent, and these allegations have nothing to do with an agreement to steal DNC materials.
   •   The DNC claims various Defendants sought to “cover up” Russia’s conduct after the elec-
       tion. Opp. 39. But given the DNC’s failure to allege the Campaign’s involvement in any con-
       spiracy in the first place, allegations of a cover-up cannot establish underlying wrongdoing.
   Second, the DNC has no answer to the Campaign’s point that there are no plausible allegations

that the Campaign intended to steal trade secrets, as opposed to generic “documents,” “data,” or

“materials.” Opp. 36–37; see also United States v. Lloyds TSB Bank PLC, 639 F.Supp.2d 326, 344

(S.D.N.Y. 2009) (“The law of conspiracy requires agreement as to the object of the conspiracy.”

(quoting United States v. Rosenblatt, 554 F.2d 36, 38 (2d Cir. 1977))). The DNC does not allege that the

Campaign was ever told the materials in question included trade secrets, much less that it joined a

plan to steal trade secrets. References to “‘thousands of emails’ that could harm Hillary Clinton’s

presidential campaign” and “official documents and information that would incriminate Hillary and

her dealings with Russia” (Opp. 36; SAC ¶¶ 94, 133) in no way suggest trade secrets were involved.

   Finally, on top of all of these problems, the Special Counsel’s Report refutes the inferences on

which the DNC’s arguments depend. As already explained, the Special Counsel determined that

neither Papadopoulos’s interactions with Mifsud nor the Trump Tower meeting resulted in the

Campaign conspiring or coordinating with Russia’s election-interferences efforts. And more to the


                                                 - 15 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 22 of 34



point, the Special Counsel’s exhaustive investigation could not and did not establish that the

Campaign conspired or otherwise coordinated with Russia. Mueller Report, Vol. I at 1–2, 13. The

Special Counsel’s findings put to rest the DNC’s concern that requiring it to concretely allege the

Campaign’s involvement in a conspiracy “would impose an unreasonable investigative burden on

plaintiffs, who can rarely find smoking-gun evidence of a conspiracy before discovery.” Opp. 39–40.

There has already been an investigation far more exhaustive than would ever be possible in civil

discovery. And far from finding a smoking gun, the Special Counsel has refuted the DNC’s theory.

This is thus not merely a case in which the DNC has failed to plausibly allege the Campaign’s

involvement in the requisite conspiracy; it definitively cannot plead that involvement.

    b. The DNC’s claims under §§ 1831 and 1832 also fail for statute-specific reasons.

    Section 1831 requires a defendant to intend or know that the misappropriation of trade secrets

will “benefit a[] foreign government.” § 1831(a). As the Campaign explained, the benefit must be

one “ordinarily associated with ‘espionage’”—i.e., “gaining access to the stolen information.” United

States v. Lee, 2010 WL 8696087, *5–6 (N.D. Cal. May 21, 2010) (emphasis added). By contrast, § 1831

“does not penalize a defendant’s intent to personally benefit.” Id. (emphasis added). The DNC accepts

this rule, but baldly asserts in a footnote that Defendants “clearly knew that the conspirators’

conduct would give a foreign government access to information.” Opp. 39 n.13. But again, the idea

that the “conspirators’ conduct” gave Russia access to DNC materials is at war with the DNC’s

allegations that Russia alone “use[d] its military infrastructure to conduct hacking activity” and, after

that, formed a conspiracy to disseminate the already-hacked materials. Id. at 29. In any event, the DNC

does not deny that it claims the Campaign intended to benefit only itself, not Russia. SAC ¶ 80.

    Section 1832 requires a defendant to intend to “convert a trade secret” “to the economic benefit

of anyone other than the owner.” § 1832(a). And the defendant must have formed this intent “when

[it] engaged in” the conspiracy. United States v. Agrawal, 726 F.3d 235, 256 (2d Cir. 2013). Given the



                                                 - 16 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 23 of 34



DNC’s failure to allege that the Campaign even knew trade secrets were involved, it obviously

cannot show that the Campaign intended to convert trade secrets—much less intended any particular

benefit from the to-be-converted trade secrets. And although the DNC baldly asserts that the

Campaign knew its conduct would economically benefit itself and Russia by “sav[ing] [them] the

time and expense of conducting costly opposition research” (Opp. 44), the SAC does not say a word

about either’s plans for opposition research. Nor could it: It is nonsensical to believe that

“opposition research” would somehow be based on internal DNC “trade secret” emails, much less

that the Campaign had budgeted for this research and then saved money by abandoning that research.

      2. The DNC does not allege a threat of continuing criminal conduct.

    The Campaign has shown that, even if the DNC had plausibly alleged that the Campaign

committed predicate acts, it does not allege that the Campaign’s acts satisfy RICO’s continuity

requirement, which (as relevant here) requires the DNC to establish a “threat of continuing criminal

conduct.” Spool v. World Child Int’l Adoption Agency, 520 F.3d 178, 183 (2d Cir. 2008). The DNC

responds that “each Defendants’ predicate acts ‘by their very nature’ present a threat of future

criminal activity” because those acts “were inherently unlawful” and were in “pursu[it] [of] an

inherently unlawful goal.” Opp. 63–64 (citation omitted). But neither the Campaign’s alleged

predicate acts nor its goal were inherently unlawful for purposes of the continuity analysis.

    As for the alleged predicate acts, “simple unlawfulness of past activity is not sufficient to

embody the requisite specific threat of future criminal activity”; rather, the acts must “threaten

repetition by their nature.” Int’l Bhd. of Teamsters v. Carey, 297 F.Supp.2d 706, 715 (S.D.N.Y. 2004), aff'd

sub nom. Int'l Bhd. of Teamsters v. Blitz, 124 F. App’x 41 (2d Cir. 2005). Even “fraud … has been held

not to be ‘inherently unlawful’ in the RICO continuity context.” Id. Even more clearly here, the

DNC’s alleged predicate acts of dealing in trade secrets implicate precisely the sort of “‘inherently

terminable’ scheme”—one aimed at affecting the outcome of a presidential election—that “does not



                                                   - 17 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 24 of 34



imply a threat of continued racketeering activity.” Cofacredit, S.A. v. Windsor Plumbing Supply Co., 187

F.3d 229, 244 (2d Cir. 1999) (emphasis added); see also First Cap., 385 F.3d at 180 (same).

    Similarly, the Campaign’s goal—in the DNC’s own words, “get[ting] Trump elected” (SAC

¶ 80)—obviously is not “inherently unlawful.” See, e.g., Teamsters, 297 F.Supp.2d at 715 (noting that

even goals of “depriving [a union] and its members of money, the honest services of its officers and

employees[,] and the right to have elections conducted fairly … are not themselves unlawful”).

    Alternatively, the DNC argues that the AIF Enterprise “‘projects criminal activity into the future’”

because the “AIF Enterprise was ‘primarily’ engaged in … inherently unlawful” activity. Opp. 64

(emphasis added). But this simply ignores the Second Circuit’s repeated recognition (which the

Campaign noted) that “[i]n analyzing the issue of continuity, … we evaluate the RICO allegations

with respect to each defendant individually.” First Cap., 385 F.3d at 180 (collecting cases). And the

DNC admits that “the Trump Campaign was ‘primarily’ pursuing lawful aims.” Opp. 64. This

argument thus cannot establish continuity as to the Campaign, either.

    The DNC tries to salvage its continuity argument by pointing to conduct after the 2016 election.

Opp. 64–65. But it does not allege any such conduct by the Campaign. And although it insists that

alleged acts of concealment can establish continuity, the law is precisely the opposite: “[I]it is not

sufficient to claim that allegations of concealment on the part of the wrongdoer constitute a basis

for establishing an open-ended scheme or threat of repetition to satisfy the continuity requirement.

Otherwise every past act of wrongdoing which a wrongdoer attempts to conceal might be the basis

for finding continuity.” Ruby Dev. Corp. v. Charrim Dev. Corp., 742 F.Supp. 1213, 1217 (E.D.N.Y. 1990).

    D. The DNC has not alleged any cognizable injury that was proximately caused by the
       alleged AIF Enterprise.

    The Campaign has also shown that the DNC does not plausibly allege any “concrete” injury to

its “business or property” that was “proximate[ly] cause[d]” by the AIF Enterprise. Westchester Cty.

Indep. Party v. Astorino, 137 F.Supp.3d 586, 612–13 (S.D.N.Y. 2015). The DNC admits that several of


                                                 - 18 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 25 of 34



its alleged injuries—harm to its political effectiveness and emotional harm to its employees—are not

cognizable under RICO. Opp. 70. And it fails to establish that its other claimed injuries pass muster.

    First, the DNC argues that Russia’s hacking “damaged the DNC’s computer systems,” requiring

repairs. Opp. 68. But, yet again, the DNC concedes that the hacking commenced before it claims the

AIF Enterprise existed. The DNC’s only response is that forensic analysis indicates that some hack-

ing occurred after the AIF Enterprise supposedly formed. Opp. 72. But that just proves the Cam-

paign’s point: The DNC does not even claim it can identify damage it sustained as a result of con-

duct by the alleged AIF Enterprise, as opposed to damage stemming from earlier conduct that by

definition was not undertaken by that Enterprise. The DNC thus cannot establish the “central” re-

quirement for proximate causation: that “the alleged [RICO] violation led directly to [its] injuries.”

Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 460–61 (2006) (emphasis added).

    Second, the DNC claims it was injured by the theft and dissemination of its trade secrets. Opp.

68–69. But the only trade-secret thefts that the DNC alleges caused financial harm were thefts of

“proprietary information” and “proprietary computer code” in “September 2016,” and the DNC

does not claim those materials were disseminated. SAC ¶¶ 255–56; id. at ¶¶ 36–37, 193–94. There

was thus no harm caused by dissemination, and so the DNC must allege that it was somehow harmed

merely because outsiders stole its trade secrets without disseminating them publicly. In this regard,

although the DNC claims it was injured by the thefts because it lost the ability to “us[e] [its] property

as [it] wishe[d]” (Opp. 68), it never plausibly alleges that this amounts to a “concrete financial loss.”

Westchester Cty. Indep. Party, 137 F.Supp.3d at 613. Nor can it: “The loss of ‘competitive advantage’

that sometimes flows from the deprivation of exclusive use [of a trade secret] is nothing more than

a non-concrete ‘injury to a valuable intangible property interest,’” and so is not cognizable under

RICO. Mattel, Inc. v. MGA Entm’t, Inc., 782 F.Supp.2d 911, 1020 (C.D. Cal. 2011); see also Choice is Yours,




                                                  - 19 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 26 of 34



Inc. v. Williams, 2016 WL 5661709, *6 (E.D. Pa. Sept. 30, 2016) (“[L]oss of value to intellectual prop-

erty such as trade secrets, even if that loss could be measured, … are not sufficient [under RICO].”).

   E. The DNC’s RICO-conspiracy claim fails, too.

    As Defendants have explained, the infirmity of the DNC’s substantive RICO claim means its

RICO conspiracy claim also must be dismissed: “Case law in this Circuit confirms that a 1962(d)

conspiracy claim must be dismissed where the substantive RICO claim is deficient.” Nat’l Grp. for

Commc’ns & Computers Ltd. v. Lucent Techs. Inc., 420 F.Supp.2d 253, 272 (S.D.N.Y. 2006). The DNC

quibbles that this rule applies only where the defendant did not “agree to a plan that—if complet-

ed—would constitute a substantive RICO violation.” Opp. 75. But that is exactly the case here: For

the reasons set forth above, the DNC has not alleged that the Campaign agreed to conduct that

would violate RICO. The DNC’s conspiracy claim against the Campaign instead depends on precise-

ly the “‘[c]onclusory allegations of a conspiracy [that] are insufficient’ to plead a Section 1962(d)

claim.” Nat’l Grp., 420 F.Supp.2d at 272 (citation omitted). Indeed, the Special Counsel’s Report con-

firms that no such conspiracy existed, and thus that there is nothing the DNC could plausibly allege

in support of this claim. Supra at 3. The § 1962(d) claim, too, must be dismissed.

III. The DNC Fails to State a Wiretap Act Claim Against the Campaign.

    The Campaign has shown that the DNC’s Wiretap Act claim fails in several ways. The DNC’s

response confirms these failures.

    No knowledge of interception. The DNC accepts that the Wiretap Act applies only to inter-

ceptions that occur “as the message is traveling from one computer or electronic source to another.”

Opp. 76; see also Campaign’s Br. 38–39 (collecting cases). It claims to have satisfied this requirement

with allegations that Russia installed malware that would capture communications “simultaneously

with their transmission” and gained access that “allow[ed]” “realtime” monitoring. Opp. 76 (citing

SAC ¶¶ 103, 128–29). But this just highlights the deficiency: The DNC’s claim is predicated on the



                                                - 20 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 27 of 34



Campaign supposedly using intercepted communications, but it at no point alleges that a single com-

munication used by the Campaign was intercepted during transmission. This omission is telling, given

that the DNC alleges when the hacking occurred (e.g., SAC ¶¶ 114–31) and of course knows what

materials were later published (and, even later, allegedly used by the Campaign). Unadorned “conclu-

sory statements” regarding Russia’s monitoring capabilities do not give the Campaign “fair notice of

what the claim is and the ground upon which it rests.” Twombly, 550 U.S. at 555 (citation omitted).

    Even if the DNC had alleged contemporaneous interceptions, its claim would still fail because it

does not plausibly allege that the Campaign “kn[ew] or ha[d] reason to know that the information

was obtained through … interception.” 18 U.S.C. § 2511(1)(d). The DNC argues that a defendant

must know only “that neither party to the intercepted communication had consented to its intercep-

tion.” Opp. 77 (citation omitted). But it offers no such allegations as to the Campaign, and instead

seeks to satisfy this requirement by “infer[ring]” the Campaign’s knowledge from Papadopoulos’s

discussions with Mifsud and the June 9 meeting. Id. As already explained, the DNC’s own allegations

do not plausibly suggest that either set of interactions resulted in the Campaign even learning that

Russia was stealing DNC materials—nor could the DNC so allege, given the Special Counsel’s find-

ings. Supra at 2–3. The DNC also argues that the Campaign must have been on notice of contempo-

raneous interceptions at least as of June 14, 2016, when the Washington Post reported on the hacks.

But that report indicated only that Russia had hacked the DNC and could intercept communications;

it did not identify whether the communications that the DNC alleges the Campaign later “used” had

been intercepted during their transmission—nor could it, as the DNC alleges that the first public

release of stolen materials did not begin until the day after the report was published. SAC ¶ 147.

    No use of intercepted communications. The Campaign has shown that the DNC’s Wiretap

Act claim also fails because a defendant does not “use” an intercepted communication when it dis-

cusses materials previously published by someone else, as the Campaign is alleged to have done.



                                                 - 21 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 28 of 34



Campaign’s Br. 41–43. The DNC accepts that premise, but argues that the Campaign went beyond

“react[ing] to information published by WikiLeaks” when, “before WikiLeaks disclosed the DNC’s

information, Defendants collectively developed a Campaign strategy to promote stolen DNC com-

munications at times they would be most beneficial to Trump.” Opp. Br. 78.

    This position is flawed. First, a claim based on “promot[ing]” materials would arise under the

Wiretap Act’s disclosure clause (§ 2511(1)(c)), not its use clause (§ 2511(1)(d)). But the DNC specifi-

cally avoids claiming the Campaign violated the disclosure clause (rightly recognizing that the Cam-

paign had no role in the disclosures), and brings its claim against the Campaign only under the use

clause. SAC ¶ 312. (In any event, given that the First Amendment precludes liability even for pub-

lishers of stolen information (supra at § I), one who merely “promote[s]” materials published by oth-

ers obviously cannot be punished.) Second, the DNC acknowledges that the Campaign must have

done something “beyond passive listening or reading” (Opp. 79)—but it does not claim the Cam-

paign even learned of the contents of a single document before it was published. Rather, it claims

only that the Campaign participated in the June 9 meeting (which had no connection to stolen mate-

rials), and that then-candidate Trump “directed the public to Wikileaks’s cache of stolen documents”

that already had been published. Id. at 80. This case is thus nothing like those the DNC invokes—

which all involved defendants who reviewed and transcribed intercepted communications (id. at

79)—and instead falls squarely within what Bartnicki deemed protected. Supra at § I.

IV. The DNC’s State-Law Claims Against the Campaign All Fail.

   A. The Court should not exercise supplemental jurisdiction over the state-law claims.

    The Campaign has shown that supplemental jurisdiction is inappropriate here for multiple rea-

sons. A court has discretion to decline supplemental jurisdiction over state-law claims that raise

“novel or complex issue[s] of State law.” 28 U.S.C. § 1367(c)(1). And the DNC confirms that the

highest courts of the District of Columbia and Virginia have not addressed, among other key ques-



                                                - 22 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 29 of 34



tions here, the scope of the “used” or “disclosed” provisions of the District of Columbia Uniform

Trade Secrets Act (“DCUTSA”) (Opp. 92), or “whether there is an independent cause of action for

aiding and abetting in Virginia” (Opp. 98). A court can also decline supplemental jurisdiction when it

dismisses all federal claims (§1367(c)(3))—which the Court should do for all the reasons set forth

above. The DNC’s only response is that it has sued under several states’ laws, a “significant portion

of the relevant events occurred in New York, and multiple Defendants are at home” here. Opp. 87.

But those are not valid reasons for keeping an exclusively state-law case in federal court.

    Once the court’s discretion is triggered, the Campaign explained that there are compelling rea-

sons for declining supplemental jurisdiction, including the multiple pending congressional investiga-

tions and criminal prosecutions arising out of the 2016 election. Although the DNC claims there are

no relevant criminal matters (Opp. 87), it simply ignores the prosecution of Stone. The DNC insists

it can find ways to “coordinat[e]” this litigation with any such investigations or proceedings (id.), but

the need for such coordination (which could be far more complicated than the DNC blithely sug-

gests) is precisely why the court should decline to reach out and exercise jurisdiction over claims aris-

ing under state law—especially if the Court dismisses the DNC’s federal claims (as it should).

    B. The DNC fails to state a trade-secrets claim against the Campaign.

    Even if this Court were to reach the merits of the DNC’s DCUTSA claim, the Campaign has

shown that this claim is deficient for a variety of reasons. The DNC’s responses fall short.

    First, the DNC fails to provide fair notice of what the relevant trade secrets underlying its

DCUTSA claim even are. The DNC confirms that it is resting on broad generalities: “donor infor-

mation, financial and economic information, proprietary opposition research[,] … information re-

garding planned political activities,” and so on. Opp. 89–90 (quoting SAC ¶ 105). It also confirms

that these categories encompass public information, but insists that compilations of public data can

constitute trade secrets if “they were the result of extensive culling efforts.” Id. at 90. Even if that is



                                                  - 23 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 30 of 34



correct, nowhere does the SAC plausibly allege that the stolen information resulted from any such

culling effort. Indeed, it points only to allegations identifying “donor lists” and “list[s] of people

who have signed up for DNC-sponsored events”—information that requires no culling. Id. at 91.

    Second, the DNC fails to plausibly allege that any of the stolen information derived “independ-

ent economic value[] from not being generally known … [and] readily ascertainable.” D.C. Code

§ 36-401(4)(A). In response, the DNC simply rehashes conclusory assertions that disclosure of its

“financial and voter engagement strategies” would have “strategic and fundraising consequences.”

Opp. 92. But it does not even attempt to show how this could be true of donor information (which

is subject to disclosure requirements), and ignores caselaw casting “doubt[]” on the notion that do-

nor lists have a “particular value [that] derives from their secrecy.” CAIR Action Network, Inc. v. Gau-

batz, 82 F.Supp.3d 344, 361 (D.D.C. 2015). More broadly, the DNC rests on “mere conclusory state-

ments” that do not satisfy federal pleading standards. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

    Third, the DNC confirms that its claim is predicated exclusively on the Campaign supposedly

“using the stolen DNC information as strategic tools in their candidate’s presidential campaign.”

Opp. 93. But any such use necessarily occurred after that information was published by others—and

a “trade secret that becomes public knowledge is no longer a trade secret.” BondPro Corp. v. Siemens

Power Generation, 463 F.3d 702, 706 (7th Cir. 2006) (Posner, J.).

    C. The DNC fails to state a claim against the Campaign for conspiracy to commit
       trespass to chattels.

    As the Campaign has explained, the DNC’s claim for conspiracy to commit a trespass to chat-

tels fails both because the DNC does not allege that the Campaign “combined” or agreed with Rus-

sia “to accomplish” hacking—the only alleged conduct that could constitute a trespass to chattels—

and because it does not allege that Defendants “combined to accomplish, by some concerted action,”

hacking activity. Gelber v. Glock, 800 S.E.2d 800, 820 (Va. 2017) (emphasis added, citation omitted);

Campaign’s Br. 47–49. The DNC does not even try rebutting the second point—to the contrary, it


                                                  - 24 -
        Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 31 of 34



confirms that Russia alone “committ[ed] the tort of trespass to chattels.” Opp. 96. The absence of

concerted action is alone fatal. In any event, the DNC’s claim fails for the more fundamental reason

that it does not and cannot allege that the Campaign joined a hacking conspiracy. Supra at 2–3.

    D. The DNC fails to state a Virginia Computer Crimes Act claim against the Campaign.
    Finally, the Campaign showed that the DNC’s Virginia Computer Crimes Act (“VCCA”) claim

fails because that statute does not authorize aiding-and-abetting liability—the only theory the DNC

asserts against the Campaign. Campaign’s Br. 49–50. The DNC does not dispute Virginia’s “basic

principle[] of statutory construction” that statutorily established causes of action and remedies are

“exclusive.” Cherrie v. Va. Health Servs., Inc., 787 S.E.2d 855, 858 (Va. 2016) (citation omitted). But it

nonetheless urges the Court to read an aiding-and-abetting provision into the VCCA, on the basis

of a federal court’s decision that expressly declined to “decid[e] whether an independent cause of ac-

tion for aiding and abetting violations of the wiretapping statutes exists in Virginia.” Marsh v. Curran,

362 F.Supp.3d 320, 332 (E.D. Va. 2019) (cited at Opp. 98). That non-decision is no basis for allowing

the DNC’s claim to move forward. (Moreover, Marsh simply conflicts with the numerous cases iden-

tified by the Campaign holding that Virginia does not recognize an independent aiding-and-abetting

cause of action, underscoring why this Court should decline to exercise supplemental jurisdiction

over this “novel or complex issue of State law.” 28 U.S.C. § 1367(c)(1); Campaign’s Br. 49–50.)

    In any event, the VCCA does not prohibit using public information that someone else retrieved

from a computer, as the Campaign is alleged to have done. Id. The DNC responds (yet again) by

baldly asserting that “Defendants worked with one another to coordinate the theft of materials from

DNC computers.” Opp. 99. But as has been explained, that argument is inconsistent with the DNC’s

own allegations (which do not involve the Campaign in any theft) and with the Special Counsel’s

findings (which establish that the Campaign had no role in any such conduct). Supra at 2–3.

                                          CONCLUSION
    The Court should dismiss all claims against the Campaign with prejudice.


                                                  - 25 -
         Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 32 of 34



Dated:    June 3, 2019                           Respectfully submitted,

                                                 /s/ Michael A. Carvin

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         Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 33 of 34



                              CERTIFICATE OF COMPLIANCE

         I, Michael A. Carvin, certify that this brief complies with the Scheduling Order that this

Court entered on October 1, 2018 (ECF No. 181) because it is under 25 pages, and that this brief

complies with this Court’s formatting rules.


Dated:    June 3, 2019                          /s/ Michael A. Carvin
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         Case 1:18-cv-03501-JGK Document 254 Filed 06/03/19 Page 34 of 34



                                     CERTIFICATE OF SERVICE

         I, Michael A. Carvin, certify that on June 3, 2019, I caused the foregoing document to be

electronically filed with the Clerk of Court using the CM/ECF system, which will send a notice of

electronic filing to all registered parties.


Dated:    June 3, 2019                          /s/ Michael A. Carvin
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